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                                                                                                                   f'   'An~/
                                                                                                                   _ _-_vim.
                                                                                 ~     ~                           ~+      ~:
                                                                                                                           -
AO 91 (Rev. 11/82)
                                                                                            CENTRAL D                T OF CALIFORNIA
            UNITED STATES DISTRICT COURT
                                                                      CLERK, U              ~~"'._.
                UNITED STATES OF AMERICAf                                   _        nr~- ;~         "`-:
                                                                                            r Cr'URT
                                          V.
                                                                                 ~IAGI         TE'S ASE
                                                                                        ~                                 o
                            RODRIGO FRANCO
                                                                ~~~~„                y ~_

                                                              io~~#-~~` (b)(unlawfully importing, and willfully
  Complaint for violation of Title 18, United States Code, Sect
                                                                            d States contrary to law)
            causing the unlawful importation of, merchandise into the Unite
                                                                                                                          LOCATION
  NAME OF MAGISTRATE NDGE
                                                                                     SITED STATES
                                                                                                                          Los Angeles, California
  HONORABLE JOHN E. MCDERMOTT                                                        MAGISTRATE JUDGE

                                                   PLACE OF OFFENSE                  ADDRESS OF ACCUSED (IF KNOWN)
  DATE OF OFFENI~fis

  1bl~rch 2, 2(~~'~7                               Los Angeles County                1551 Ridge Crest Street, Apartment G, Monterey
   i `-~        ~.~                                                                  Park, CA
   f


                                                              THE OFFENSE OR VIOLATION:
  C~QIVIPLAINANT'~~TATEMEN'F OF FACTS CONSTITUTING
     _;
    _~                            _                             ~~g U.s.~. §§ 545,Zro»
                     r ,-                                                      the Central District of California, and
          On c about March 2, 2017, in the County of Los Angeles, within
                                                                fraudulently, imported and brought, and caused to
  elsewhere, defendant RODRIGO FRANCO knowingly and
                                                               Cobras(Ophiophagus hannah), into the United
  be imported and brought, merchandise, namely three King
                                                                  ing said King Cobras to the United States Fish and
  States contrary to law, that is:(1) without reporting or declar
                                                                      tions, Section 14.61; and(2) without obtaining
  Wildlife Service, in violation of Title 50, Code of Federal Regula
                                                                    l Trade in Endangered Species of Wild Fauna
  the necessary documents under the Convention on Internationa
                                                               es Act, Title 16, United States Code, Sections
  and Flora("CITES"), in violation of the Endangered Speci
                                                                        tions, Sections 23.13(a) and 23.20(e).
  1538(c) and 1540(i~), and CITES, Title 50, Code of Federal Regula

                                                           ACCUSED:
   BASIS OF COMPLAINANT'S CHARGE AGAINST THE
                                                                          Compl                            aint)
            (See attached affidavit which is incorporated as part of this

                                                  :           N~A
   MATERIAL WITNESSES IN RELATION TO THIS CFIARGE
                                                                                                                     `~
                                                               SIGNATCTRE OF COMPLAIN
   Being duly sworn, I declare that the
   foregoing is true and correct to the best                   ~~DIEHL
                                                               OFFICIAL TITLE
   Of 1T1~1 k110W1eC~gE.
                                                               SA, U.S. Fish and Wildlife Service

   Sworn to before me and subscribed in my presence,
                                                                                                                               DATE
    SIGNA            MAGI TRAT NDGE~~~
                                                                                                                               July 21, 2017

  ~'~ See Federal R es o Cirtnirial Procedure3 and SZk--                                         v    ~,



  AUSA Erik Si er x12231 REC: bond
Case 2:17-cr-00523-GW Document 1 Filed 07/21/17 Page 2 of 54 Page ID #:2




                               T TL~TTTTTTT




     I, Adam Diehl, being duly sworn, declare and state as

follows:

                           I. INTRODUCTION


     1.     I am a Special Agent ("SA") with the Department of the

Interior, United States Fish and Wildlife Service ("USFWS"),

Office of Law Enforcement ("OLE"), stationed in Torrance,

California.    I am authorized by the Secretary of the Interior to

conduct searches and seizures and to make arrests, as authorized

by law, pursuant to the Lacey Act, Title 16, United States Code,

Section 3371 et seq.    I am an investigative law enforcement

officer of the United States within meaning of Title 16, United

States Code, Section 3375, and a federal law enforcement officer

within the meaning of Rule 41(a) of the Federal Rules of

Criminal Procedure.    I have been so employed since May of 2016.

     2.     I was previously employed as a Special Agent with the

Department of Justice, Drug Enforcement Administration ("DEA")

in Los Angeles, California for approximately two years, and a

Law Enforcement Officer with the United States Forest Service,

Law Enforcement and Investigations in Southern California for

approximately six years.     I received a Bachelor's degree in

Social and Criminal Justice from Ashford University in July of

2013.     I am also a graduate of the Fullerton College Police
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Academy in Fullerton, California, the Land Management Police

Training Program at the Federal Law Enforcement Training Center

in Glycol, Georgia, the DEA Basic Special Agent Academy in

Quantico, Virginia, and the USFWS Special Agent Basic School

("SABS") at the Federal Law Enforcement Training Center in

Glycol, Georgia.

     3.    During the last nine years, I have conducted several

complex investigations involving the protection of natural

resources and United States government property, arson, firearms

violations, narcotics trafficking, money laundering, and fish

and wildlife violations.      Since my employment with the USFWS in

2016, I have conducted, or been involved in, multiple

investigations relating to the illegal commercialization of

protected fish and wildlife, and violations of federal fish and

wildlife laws.    I have read, studied, and received training on

the laws enforced by the USFWS.         I have also received advanced

training in numerous aspects of criminal investigative

techniques, including electronic surveillance and the

application of undercover techniques for criminal

investigations.




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                    II. PURPOSE OF THIS AFFIDAVIT



     4.      This affidavit is made in support of a criminal

complaint against and arrest warrant for RODRIGO FRANCO for a

violation of Title 18, United States Code, Section 545

(importing merchandise into the United States contrary to law).

     5.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and/or

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

warrant and does not purport to set forth all of my knowledge of

or investigation into this matter.       Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only.

                         III.APPLICABLE LAW



     6.   The Endangered Species Act is a federal law that,

among other things, regulates the importation and exportation of

certain wildlife and plants to and from the United States, and

implements the United States' obligations under the Convention

on International Trade in Endangered Species of Wild Fauna and

Flora ("CITES").

     7.   CITES is an international treaty among approximately

183 nations, including the United States and China, that

                                    3
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establishes certain requirements that must be met before CITES-

protected wildlife may be imported or exported from signatory

nations.   Wildlife protected under CITES is divided into

Appendices I, II, and III.     Wildlife listed in Appendix I have

the highest level of protection and include those species

threatened with the immediate risk of extinction.         Wildlife

listed in Appendix II are considered at risk for becoming

endangered and require permits for import and export to and from

the United States.

     8.    Title 50, Code of Federal Regulations, Section 23.13

generally provides that it is unlawful for any person subject to

the jurisdiction of the United States to attempt to import,

export, re-export, or engage in international trade with, any

specimen of a species listed in CITES Appendix I, II, and III.

All CITES Appendix II wildlife may only be imported into the

United States when accompanied by a foreign CITES export permit

or re-export permit from the Management Authority of the country

from which the wildlife is being exported, and may only be

exported from the United States when accompanied by a CITES

export permit or re-export permit issued by the United States.

50 C.F.R. §~ 23.20(e), 23.35 and 23.36.

     9.    King cobras (Ophiophagus hannah), Desert box Turtles

(Terrapene ornata luteola), Three-toed box turtles (Terrapene
 Case 2:17-cr-00523-GW Document 1 Filed 07/21/17 Page 6 of 54 Page ID #:6




Carolina triunguis) and Florida box turtles (Terrapene ornata

bauri) are listed in CITES Appendix II.

     10.   Federal law generally provides that all importers and

exporters of fish or wildlife must file a completed Declaration

for import or export (USFWS Form 3-177), that is signed by the

importer or the importer's agent, exporter or the exporter's

agent, upon the importation or exportation of any fish or

wildlife at the place where USFWS clearance is requested.          See

50 CFR ~~ 14.52, 14.61 and 14.63.

     11.   Title 18, United States Code, Section 545 makes it

unlawful for a person to "fraudulently or knowingly import[] or

bring[] into the United States, any merchandise contrary to law,

or receive [] , conceal[], buy[] , sell [] , or in any manner

facilitate[] the transportation, concealment, or sale of such

merchandise after importation, knowing the same to have been

imported or brought into the United States contrary to law."

     12.   Title 18, United States Code, Section 554 makes it

unlawful for a person to "fraudulently or knowingly export or

send from the United States, any merchandise, article or object

contrary to law or regulation of the United States, or

receive [], conceal [], buy[] , sell [], or in any manner facilitate

the transportation, concealment, or sale of such merchandise,

article or object, prior to exportation, knowing the same to be



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intended for exportation contrary to any law or regulation of

the United States."

     13.    The Lacey Act, 16 U.S.C. ~ 3371, et seq., is a federal

law that, among other things, makes it is unlawful for any

person to make or submit any false record, account, or label

for, or any false identification of, any fish, wildlife, or

plant which has been or is intended to be either imported or

transported in interstate or foreign commerce.         16 U.S.C.

~§ 3372(d), 3373(d).

     14.    Title 16, United States Code, Sections 1538(c),

1540(b), provide criminal sanctions for any person who knowingly

engages in any trade in any specimens contrary to the provisions

of CITES.

                  IV. STATEMENT OF PROBABLE CAUSE


     15.    On March 3, 2017, the Honorable Suzanne H. Segal,

United States Magistrate Judge, issued an anticipatory search

warrant based on an affidavit by USFWS Special Agent Stephanie

Johnson.    I hereby incorporate the statements in that affidavit,

which is attached as Exhibit 1, to support probable cause for

the complaint and arrest warrant.       To summarize that affidavit,

on March 2, 2017, a United States Customs and Border Protection

inspection of a United States Postal Service parcel being

imported from Hong Kong revealed three live king cobra snakes --


                                    D
  Case 2:17-cr-00523-GW Document 1 Filed 07/21/17 Page 8 of 54 Page ID #:8




a legally-protected and highly venomous/deadly reptile -- each

of which was approximately two-feet long and three albino

Chinese soft-shelled turtles (that same day, a sender using the

same name attempted to export six CITES Appendix II protected

turtles).    Attached as Exhibit 2 to this affidavit are

photographs of the cans that cobras were imported in,

photographs of Wildlife Inspector Cory Kawabata opening one of

the cans (revealing one of the snakes), and a photograph of one

of the cobras in a tank at our USFWS office.

     16.    On March 3, 2017, I helped with the execution of the

anticipatory warrant mentioned above.        Specifically, on March 3,

2017, I watched as United States Postal Inspector Carl Nonas-

Truong delivered the parcel, containing Chinese albino soft-

shelled turtles, to the residence (Because the three cobras were

venomous, returning them to the package was itself dangerous,

and there was also danger to the community in delivering live

cobras, so the cobras were seized and not returned to the

package for delivery).     After the package was accepted, I

approached the apartment with SA Juan Ramirez Amezcua, SA

Johnson, SA Laura Chee, and SA Erin Dean, as well as multiple

Special Agents from Homeland Security Investigations ("HSI").

     17.    I assisted with the search of the apartment and found

that the parcel Postal Inspector Carl Nonas-Truong delivered had

been placed at the foot of the bed in what appeared to be a

                                    7
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children's bedroom.    In that same bedroom, I also saw a glass

tank containing a live baby crocodile, which was later

identified by Los Angeles Zoo Reptile Curator Ian Reccio as a

Morelet's crocodile (Crocodylus moreletti), and glass tanks

containing turtles, which were later identified by USFWS

Wildlife Inspector Joseph Ventura as three alligator snapping

turtles (Macrochelys temminckii), a common snapping turtle

(Chelydra serpentina), and five diamond back terrapins

(Malachlemys terrapin), all listed as CITES Appendix II.          I also

saw glass tanks containing a non-protected musk turtle and

various species of fresh water fish.

     18.   During the execution of the warrant, I saw RODRIGO

FRANCO arrive at the apartment.      After his arrival, I observed

that he was interviewed by SA Johnson, SA Ramirez Amezcua and

Postal Inspector Carl Nonas-Truong.

     19.   After we completed the execution of the warrant, I

reviewed the recording of FRANCO's interview and talked to SA

Johnson about the interview.      From these, I learned that FRANCO

told SA Johnson during the interview that he had received two

previous shipments of cobras in the mail.        FRANCO told SA

Johnson that he received about ten king cobras in the first

shipment and ten king cobras in the second shipment.          FRANCO

also told SA Johnson that the cobras in the two prior shipments

were dead on arrival, and that he knew from comments he read
Case 2:17-cr-00523-GW Document 1 Filed 07/21/17 Page 10 of 54 Page ID #:10




online that "venomous were illegal.."      FRANCO also told SA

Johnson that he had used the name "Carlos Sandoval" and shipped

out the six protected turtles that were intercepted at the mail

facility on March 2, 2017.     FRANCO initially denied knowing that

there were originally king cobras in the parcel that special

agents delivered to FRANCO on March 3, 2017, and claimed to have

only known about the three soft-shelled turtles in the parcel.

After being admonished by SA Johnson and Postal Inspector Nonas-

Truong that it was a crime to lie to federal agents, FRANCO

ultimately admitted that he knew the package being shipped to

his residence would contain at least one king cobra.

     20.   During the execution of the warrant, I collected

Franco's cellular phone ("iPhone") as evidence.

     21.   SA Johnson informed me of the following:

           a.   SA Johnson informed that, on March 6, 2017, she

shipped FRANCOS's iPhone to the USFWS Digital Evidence Recovery

and Technical Surveillance Unit ("DERTSU") in Jacksonville,

Florida.   DERTSU Senior SA David Johnson informed SA Johnson

that, on March 7, 2017, he received the iPhone and used a

Cellebrite Universal Forensic Extraction Device ("UFED") to

forensically extract the data, to include call history, text

messages, application communications, contacts, photographs and

videos from the cellular phone pursuant to the attached search
Case 2:17-cr-00523-GW Document 1 Filed 07/21/17 Page 11 of 54 Page ID #:11




warrant.    The extracted data was then placed in files on a

universal serial bus ("USB") flash drive.

            b.   On March 9, 2017, SA Johnson received the iPhone

back from DERTSU SA David Johnson.

            c.   On March 10, 2017, the extracted data was

transferred from DERTSU Senior SA David Johnson to DERTSU Senior

SA Mark Sletto for forensic analysis, which included organizing

the extracted data into electronic files and searching for

keywords, such as "cobra," relevant to the import of the king

cobras.

            d.   On April 21, 2017, SA Johnson received the

complete extracted results on a USB flash drive from SA Sletto.

      22.   In April of 2017, I had several conversations with SA

Johnson as she reviewed the evidence that had been recovered

from FRANCO's iPhone.      I reviewed a report that SA Johnson

prepared documenting conversations and photos that were

recovered from FRANCO's cellular phone.        Based on conversations

I had with SA Johnson and my review of her report, I learned the

following:

            a.   FRANCO had been in communication with several

individuals through the communication application "Whatsapp."

Whatsapp is a free instant messaging platform for smartphones,

which allows users to make calls, send images, videos and text

messages.    These profiles were identified with Chinese

                                    10
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characters.      One such profile was also identified as an

individual in English as "Ji Anji."

            b.     Recovered from the phone was a deleted

conversation between FRANCO and Ji Anji where they discussed

establishing a business relationship in which FRANCO would

purchase reptiles in the United States and then ship them to

Anji in Hong Kong.      In return, Anji would pay FRANCO with both

money, and reptiles, which included live king cobras.

            c.     During this conversation, FRANCO told Anji that

he purchased several different box turtles for him.           On February

13, 2017, FRANCO asked Anji when he would be sending the albino

Chinese soft-shelled turtles.       In response,- Anji wrote, "I want

to send u Chinese king cobra first because that's our first

business...Let's just finish the first deal, because I need to pay

180 dollars shipping fee for a parcel to smuggle to California."

            d.     Anji sent FRANCO detailed instructions on how to

package the turtles in socks, including photos and a video.

When FRANCO informed Anji that he was shipping the turtles via

FedEx, Anji responded that he thought FedEx was "strict with

parcels."     FRANCO responded with the following, "FedEx no us

[sic] postal yes they open the package in front of you" and

"FedEx don't open it."

            e.     FRANCO asked Anji if turtles were illegal to ship

to Hong Kong and Anji replied, "Do you remember u send me the
                                     11
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king and corn?"     FRANCO responded, "Yes but sent to China."

Anji replied, "Ahh, just like that time...HK it's very very easy."

            f.   On February 16, 2017, FRANCO sent Anji a message

with the address "1551 ridge crest St Apt G City Monterey Park

State California Zip 91754 Carlos Sandoval" and instructions to

ask for no signature required upon delivery.         Anji replied, "Ok

,ahh, as I send it, do not check the track number...If you want to

check the process ,just message me...Some guys were caught in USA

,because the company can follow their ip...If the parcel was

checked (worst consequence),u can say I don't know and they

can't check your follow recored[sic]."

            g.   On February 20, 2017, FRANCO asked Anji for a

photo of a king cobra and asked if they eat mice.          Anji replied

that they prefer snakes but will eat mice if there is snake

blood on them.

            h.   Between February 20 and February 26, 2017, FRANCO

and Anji negotiated for the purchase and shipment of six more

box turtles by FRANCO.      On February 26, 2017, Anji asked for a

phone number for shipping and instructed FRANCO to not use his

own phone number.

            i.   On March 3, 2017, Anji sent FRANCO a message

complaining about the slowness of the mail.         FRANCO sent Anji a

message and said, "Sorry friend."        Anji replied, "No!!     ...0




                                    12
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don't need to say sorry to me...This is the kc and albino soft

shell...I should say sorry to u [sic] ."

       23.   Based on conversations that I had with SA Johnson and

my review of her report, I also learned that she had asked

FRANCO on March 3, 2017, March 10, 2017, March 31, 2017, and May

16, 2017 about what happened to the previous shipments of king

cobras he had received from Hong Kong.        On each occasion, FRANCO

told her the king cobras were "they're dead."         I also learned

that FRANCO told her he received a shipment of king cobras

approximately seven to eight months prior, and although he

claimed they were "they're dead," FRANCO said that one of his

contacts in China had a cousin that flew to Los Angeles from

Virginia, collected the snakes, and returned to Virginia with

the dead snakes.

       24.   I also learned from SA Johnson's report; documenting

conversations recovered from FRANCO's cell phone, that, on

September 24, 2016, FRANCO had a conversation with an individual

named "Liang" who said "My cousin will be there today."           FRANCO

responded by saying "3 snakes didn't want to eat so they died

today...only 5 still alive now...you can have my snake so your

cousin can take all 5 snakes and I'l1 have my snakes next time

ok."    Based on this evidence, I believe that Franco was

untruthful when he told SA Johnson that the previous cobras that

he had received had all died.
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                             V.   CONCLUSION



      25.   For all the reasons described above, there is probable

cause to believe that FRANCO committed a violation of Title 18,

United States Code, Section 545 (importing merchandise into the

United States contrary to law).




                                                                ~_..


                                          ADAM DIEHL, Sp      1 A ent,
                                          USFWS
Subscribed to and sworn before me

this 21st day of July, 2017.




   ~SRA$LE JaI~T E . MCDERMOTT
   TED STATES MAGISTRATE JUDGE




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                           Exhibit 1
             Case 2:17-cr-00523-GW Document 1 Filed 07/21/17 Page 17 of 54 Page ID #:17
A093
(Rev.B/82)             ANTICIPATORY SEARCH WARRANT ON WRITTEN AFF

             UNITED STATES DISTRICT COURT                          CENTRAL DISTRICT OF CALIFORNIA

                                                             DOCKET NO.                   ~~~~s                    ~E NO.
               UNITED STATES OF AMERICA
                          v.

    THE PREMISES KNOWN AS:                                   TO:
    Location in which visual surveillance indicates the      ANY SPECIAL AGENTS)WITH THE UNITED
    United States Postal Service package with tracking       STATES FISH.AND WILDLIFE SERVICE OR
    Number EA259339179HK has been accepted for               ANY OTHER AUTHORIZED OFFICER
    delivery located at 1551 Ridge Crest Street,
    Apartment G,Monterey Park, California 91754




                                                                                     reason to believe that
     Affidavit having been made before me by the below-named affiant that he/she has
     on the premises known as

                                                             SEE ATTACHMENT A



                                                                               in the Central District of California

     there will be concealed certain property,namely:

                                                             SEE ATTACHMENT B

                                                                                         nce of the tri~~erin~
     and as I am satisfied that there is probable cause to believe that upon the occurre
                                                                                               d will be concealed
     event described in Section VII of the search warrant affidavit, the property so describe
                                                                                                 of the search
     on the person or premises above-described and the grounds for application for issuance
                                                                                          reference and attached
     warrant exist as stated in the supporting affidavit which is incorporated herein by
     hereto.

    YOU A.RE HEREBY COMMANDED to search on or before                        fourteen (14) days
                                                                                                   this warrant
   (not to exceed 14 days)the person or place named above for the property specified, serving
                                                                                  of the event describe d above,
    and making the search at any time in the day or night upon the occurrence
                                                                                                   the property
    and if the property be found there to seize it, leaving a copy of this warrant and receipt for
                                                                                               warrant to the
    taken, and prepare a written inventory of the property seized and promptly return this
    duty U.S. Magistrate Jude as required by law.



                                                                                             DATE/TIME ISSUED
     NAME OF AFFIANT                        SIGNA~URE U.S. MAGISTRATE JUDGER


     Stephanie Johnson, United States       The Honorable Suzann~H: Segal                    ~/3/~7              J ~~`~'"~
                                                                                                                ~'
     Fish and Wildlife Service

          ~~
 AUSA: Erik M.Silber
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                              ATTACHMENT A

PREMISES TO BE SEARCHED

      The SUBJECT PREMISES to be searched -- only after the event
                                                           y and
that triggers the anticipatory search warrant, i.e. deliver

acceptance of the United States Postal Service package bearing
                                                             l
Tracking Number EA259339179HK and addressed to Carlos Sandova
                                                               y
-- is located at 1551 Ridge Crest Street, Apartment G, Montere

Park, California 91754.      It is within the Ridgewood Apartments

Complex.   The apartment is located on the second floor of a

brown building with wooden siding in the middle of the complex.

The building is identified with the number 1551.




                                     i

                                         [Non-Instrumentality Protocol]
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                              ATTACHMENT B

ITEMS TO BE SEIZED
                                                 e Crest St. Apt
      1.   The items to be seized from 1551 Ridg
                                   3 (the "SUBJECT PREMISES")
G, Monterey Park, California, 9284
                                  or instrumentalities of
constitute evidence, fruits, and/
                                     1540(b), 50 C.F.R. §~ 23.13,
violations of 16 U.S.C. ~~ 1538(c),
                                    protected animals); 16 U.S.C.
23.20 (illegally importing legally-
                                  mitting a false record or label
§§ 3372(d), 3373(d)(3)(A)(i) (sub
                                     ); and 18 U.S.C. § 545
for wildlife intended to be imported
                                      es), namely:
(smuggling goods into the United Stat
                                                         with
            a.    A United States Postal Service package
                                   addressed to Carlos Sandoval
Tracking number EA 259339179HK and
                                    erey Park, California 91754,
at 1551 Ridge Crest St, Apt G, Mont
                                      ention on the International
and its contents, including live Conv
                                    Fauna and Flora ("CITES")
Trade in Endangered Species of Wild

 protected wildlife.

            b.    Any other CITES-protected wildlife.
                                                         rtation,
            c.    Records relating to the purchase, impo
                                      transfer, disposition,
 transportation, storage, possession,
                                    offer for sale of CITES-
 trade, sale, offer to purchase, or
                                      memos, notebooks, books,
 protected wildlife, including notes,
                                       ted wildlife, invoices,
 correspondence regarding CITES-protec
                                       imiles, purchase orders,
 shipping records, packing slips, facs
                                           of credit, permits,
 bills of sale, shipping records, letters
                                        documents, receipts,
 customs forms, contracts, importation
                                       l records, cancelled
 customer lists, price lists, financia
                                        rs, wire transfers, bank
 checks, check book ledgers, money orde
                                ii

                                         [Non-Instrumentality Protocol]
Case 2:17-cr-00523-GW Document 1 Filed 07/21/17 Page 20 of 54 Page ID #:20




                                    sfer statements, cashier
statements, international bank tran
                                   ts, personal telephone
checks, cash, credit card statemen

directories, and photographs; and
                                                       unications
            d.   Records and documents reflecting comm

                                   associations, and business
with government agencies, consumer
                                   wildlife, or the requirements
associations about CITES-protected
                                   of wildlife under CITES,
for the importation or exportation
                                     rding compliance or non-
including documents or licenses rega
                                   and regulations, or
compliance with governmental rules
                                    required by governmental
declarations, permits, and licenses
                                      rt, or transport wildlife
rules and regulations to import, expo

products.
                                                         aining
            e.   With respect to any digital device cont
                                     the foregoing categories of
evidence falling within the scope of

items to be seized:

                                                                 ed
                  i.    evidence of who used, owned, or controll

                                        ribed in this warrant were
 the device at the time the things desc

                                           , registry entries,
 created, edited, or deleted, such as logs

                                      and passwords, documents,
 configuration files, saved~usernames

                                          e-mail contacts, chat
 browsing history, user profiles, e-mail,

                                          and correspondence;
 and instant messaging logs, photographs,

                  ii.   evidence of the presence or absence of

                                          rol the device, such as
 software that would allow others to cont

                                         of malicious software,
 viruses, Trojan horses, and other forms


            l
                                     iii

                                           [Non-Instrumentality Protocol]
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as well as evidence of the presence or absence of security

software designed to detect malicious software;

                   iii. evidence of the attachment of other devices;

                   iv.     evidence~of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                   v.      evidence of the times the device was used;

                   vi.     passwords, encryption keys, and other access

devices that may be necessary to access the device;

                   vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                   viii.            records of or information about

Internet Protocol addresses used by the device;

                   ix.      records of or information about the device's

Internet activity, including firewall logs, caches, browser

history and cookies, "bookmarked" or "favorite" web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

      2.   As   llSeC~.   herein,    t112   terms "records,"   ~~documents,"


"programs," "applications," and "materials" include records,

documents, programs, applications, and materials created,



                                             iv

                                                  [Non-Instrumentality Protocol]
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                                      uding in digital form on
modified, or stored in any form, incl

                                         es thereof.
any digital device and any forensic copi
                                                     includes any
      3.   As used herein, the term "digital device"

                                    of storing or processing
electronic system or device capable

                                        processing units;
data in digital form, including central

                                           uters; personal .
desktop, laptop, notebook, and tablet comp

                                      ation devices, such as
digital assistants; wireless communic

                                        le telephones, and smart
telephone paging devices, beepers, mobi

                                         (including Sony
phones; digital cameras; gaming consoles

                                         pheral input/output
PlayStations and Microsoft Xboxes); peri

                                           ners, plotters,
devices, such as keyboards, printers, scan

                                           e media; related
monitors, and drives intended for removabl

                                        routers, cables, and
communications devices, such as modems,

                                         disk drives, floppy
connections; storage media, such as hard

                                        magnetic tapes used to
disks, memory cards, optical disks, and

                                          s such as VHS); and
store digital data (excluding analog tape

security devices.


II.   SEARCH PROCEDURE FOR DIGITAL DEVICES


                                                          es
      4.    In searching digital devices or forensic copi

                                        uting this search warrant
thereof, law enforcement personnel exec

will employ the following procedure:
                                                              als
            a.    Law enforcement personnel or other individu

                                         "search team"} will, in
assisting law enforcement personnel (the

                                     v

                                         [Non-Instrumentality Protocol]
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                                    digital device(s) on-site or
their discretion, either search the

                                 to an appropriate law
seize and transport the devices)

                                  facility to be searched at
enforcement laboratory or similar
                                                     search as
that location.    The search team shall complete the

                                  exceed 120 days from the date
soon as is practicable but not to

of execution of the warrant.       The government will not search the

                                      period without first
digital device(s) beyond this 120-day

                                    r from the Court.
obtaining an extension of time orde
                                                       ch only by
            b.   The search team will conduct the sear

                                    chosen to identify only the
using search protocols specifically

                                       warrant.
specific items to be seized under this
                                                               data
                  i.    The search team may subject all of the

                                      ble of containing any of
contained in each digital device capa

                                   ch protocols to determine
the items to be seized to the sear

                                     eon falls within the list of
whether the device and any data ther

items to be seized.      The search team may also search for and

                                     " or encrypted data to
attempt to recover deleted, "hidden,

                                       ocols, whether the data
determine, pursuant to the search prot

                                  be seized.
falls within the list of items to
                                                              ude
                  ii.   The search team may use tools to excl

                                        dard third-party software
 normal operating system files and stan

 that do not need to be searched.
                                                        examination
                  iii. The search team may use forensic

                                   ase" and "FTK" (Forensic Tool
 and searching tools, such as "Enc
                                     vi

                                          [Non-Instrumentality Protocol]
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                                      other sophisticated
Kit), which tools may use hashing and

techniques.
                                                     a digital
           c.    If the search team, while searching

                                        contraband or other
device, encounters immediately apparent

                                     e of the items to be seized,
evidence of a crime outside the scop

                                       its search of that device
the team shall immediately discontinue

                                   and shall make and retain
pending further order of the Court

                                   or other evidence of a crime
notes detailing how the contraband

                                      immediately apparent
was encountered, including how it was

contraband or evidence of a crime.
                                                         device
            d.   If the search determines that a digital

                                       in the list of items to be
does not contain any data falling with

                                     as is practicable, return
seized, the government will, as soon

                                     forensic copies thereof.
the device and delete or destroy all
                                                       tal device
            e.    If the search determines that a digi

                                     list of items to be seized,
does contain data falling within the

                                        es of such data, and may
the government may make and retain copi

access such data at any time.
                                                          device is
            f.    If the search determines that a digital

                                     or (2) contains data falling
(1) itself an item to be seized and/

                                        the government may retain
 within the list of items to be seized,

                                       but may not access data
 forensic copies of the digital device

                                       s to be seized (after the
 falling outside the scope of the item



                                    vii

                                          [Non-Instrumentality Protocol]
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                                  expired) absent further court
time for searching the device has

order.
                                                     device itself
           g.    The government may retain a digital

                                    one year after the
until further order of the Court or

                                    ation or case (whichever is
conclusion of the criminal investig

                                      in 14 days following the
latest), only if the government, with

                                   t for completing the search,
time period authorized by the Cour

                                     orizing retention of the
obtains an order from the Court auth

                                    such an order is pending) .
device (or while an application for

                                    rn the device.
Otherwise, the government must retu
                                                     of the digital
            h.    After the completion of the search

                                       ss digital data falling
devices, the government shall not acce

                                     seized absent further order
outside the scope of the items to be

of the Court.
                                                of being read or
      5.    In order to search for data capable

                                     enforcement personnel are
interpreted by a digital device, law

                                       s:
authorized to seize the following item
                                                           to
            a.    Any digital device capable of being used

                                   of the offense s) listed
 commit, further or store evidence

 above;

            b.    Any equipment used to facilitate the

                                       ding, or storage of digital
 transmission, creation, display, enco

 data;



                                    viii

                                           [Non-Instrumentality Protocol]
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                                                      storage
            c.   Any magnetic, electronic, or optical

                                       ;
device capable of storing digital data
                                                       reference
            d.   Any documentation, operating logs, or

                                       digital device or
manuals regarding the operation of the

software used in the digital device;
                                                          ilers,
            e.   Any applications, utility programs, comp

                                     to facilitate direct or
interpreters, or other software used

                                     tal device;
indirect communication with the digi
                                                         dongles,
            f.    Any physical keys, encryption devices,

                                        ssary to gain access to
or similar physical items that are nece

                                     the digital device; and
the digital device or data stored on
                                                           ,
            g.    Any passwords, password files, test keys

                                             ssary to access the
 encryption codes, or other information nece
                                           tal device.
 digital device or data stored on the digi
                                                    tal devices
      6.    The special procedures relating to digi

                                       search of digital devices
 found in this warrant govern only the

                                        this warrant and do not
 pursuant to the authority conferred by

                                        pursuant to any other
 apply to any search of digital devices

 court order.




                                     ix

                                          [Non-Instrumentality Protocol]
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                                                                             r
                                T L~L~TTT[7TT



                                                              te
                                  duly sworn, declare and sta
      I, Stephanie Johnson, being

as follows:
                           I.    INTRODUCTION


                                       with the Department of the.
      1.  I am a Special Agent ("SA")
                                                          S"),
                            h and Wildlife Service ("USFW
Interior, United States Fis
                                                          rnia. I
                            stationed in Torrance, Califo
Office of Law Enforcement,
                                                          t
                            ary of the Interior to conduc
am authorized by the Secret
                                                         d by law,
                           to make arrests, as authorize
searches and seizures and
                                                            Section
                            Title 16, United States Code,
pursuant to the Lacey Act,
                                                         icer of
                             igative law enforcement off
3371 et seq. I am an invest
                              ning of Title 16, United States
 the United States within mea
                                                          r within
                           federal law enforcement office
 Code, Section 3375, and a
                                                           al
                               the Federal Rules of Crimin
 the meaning of Rule 41(a) of
                                                         1.
                            employed since August of 201
 Procedure. I have been so
                                        ted, or been involved in,
      2.   As a USFWS SA, I have conduc
                              ating to the illegal
 multiple search warrants rel
                                                        violations
                             ted fish and wildlife, and
 commercialization of protec
                                                            and
                               laws. I have read, studied,
 of federal fish and wildlife
                                                             e
                                enforced by the USFWS. I hav
 received training on the laws
                                                         criminal
                            ining in numerous aspects of
 also received advanced tra
                                                               and
                               luding electronic surveillance
 investigative techniques, inc
                              r techniques for criminal
 the application of undercove

 investigations.
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                  II.     PURPOSE OF THIS AFFIDAVIT


      3.   This affidavit is made in support of an application
                                                    located at
for an anticipatory search warrant for the premises
                                                           ornia
1551 Ridge Crest Street, Apartment G, Monterey Park, Calif
                                                     and/or~
91754 (the "SUBJECT PREMISES") for evidence, fruits,
                                                      c),
instrumentalities of violations of 16 U.S.C. §§ 1538(
                                                        legally-
1540(b), 50 C.F.R. ~~ 23.13, 23.20 (illegally importing
                                                    (A)(i)
protected animals); 16 U.S.C. ~§ 3372(d), 3373(d)(3)
                                                       ded to be
(submitting a false record or label for wildlife inten
                                                         United
imported); and 18 U.S.C. § 545 (smuggling goods into the

States).    This anticipatory search warrant will be executed only
                                                            l
upon the receipt of the United States Postal .Service parce
                                                      SES and the
described below by an individual at the SUBJECT PREMI
                                                         of this
occurrence of the circumstances described in Section VII

affidavit.

      4.     The facts set forth in this affidavit are based upon
                                                      and/or
my personal observations, my training and experience,
                                                        nnel and
information obtained from various law enforcement perso

witnesses.    This affidavit is intended 'to show merely that there
                                                       and does
is sufficient probable cause for the requested warrant
                                                         tigation
not purport to set forth all of my knowledge of or inves

into this matter.       Unless specifically indicated otherwise, all
                                                         are
conversations and statements described in this affidavit

related in substance and in part only.




                                     2

                                         [Non-Instrumentality Protocol]
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                                              MS TO BE SEIZED
      III.    PREMISES TO BE SEARCHED AND ITE


                                            d at 1551 Ridge Crest
      5.     The SUBJECT PREMISES is locate

                               Park, California 91754, and is
Street, Apartment G, Monterey
                              ment A, which is incorporated
described in detail in Attach

herein by r-eference.
                                            stitute evidence,
      6.  The items to be seized, which con
                                  of violations of 16 U.S.C.
fruits, and/or instrumentalities,
                                                           y
                             .R. ~§ 23.13, 23.20 (illegall
 ~§ 1538(c), 1540(b); 50 C.F
                                   s), 16 U.S.C.
importing legally-protected animal
                                                             label
                               (submitting a false record or
 §~ 3372(d), 3373(d)(3)(A) (i)
                                 orted), and 18 U.S.C. ~ 545
 for wildlife intended to be imp
                                   States), are listed in
 (smuggling goods into the United
                                  ted herein by reference.
 Attachment B, which is incorpora


                   IV.     SUMMARY OF PROBABLE CAUSE


                                              toms check of a
       7.  Yesterday, on March 2, 2017, a cus
                                  cel being imported from Hong
 United States Postal Service par
                                   ra snakes -- a legally-
 Kong revealed three live King Cob
                                   dly reptile -- each of which
 protected and highly venomous/dea
                                g.
 was approximately two-feet lon


                           V.    APPLICABLE LAW


                                            a federal law that,
       8.     The Endangered Species Act is
                                    importation and exportation of
 among other things, regulates the
                                and from the United States, and
 certain wildlife and plants to
                                   igations under the Convention
 implements the United States' obl

                                      3

                                          [Non-Instrumentality Protocol]
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                                   ed Species of Wild Fauna and
on International Trade in Endanger

Flora ("CITES").
                                                   g approximately
      9.     CITES is an international treaty amon
                                       es and China, that
183 nations, including the United Stat
                                       must be met before CITES-
establishes certain requirements that
                                   or exported from signatory
protected wildlife may be imported
                                                    ded into
nations.     Wildlife protected under CITES is divi

Appendices I, II, and III.      Wildlife listed in Appendix I have

                                    include those species
the highest level of protection and
                                   of extinction.          Wildlife
threatened with the immediate risk
                                     at risk for becoming
listed in Appendix II are considered
                                   import.
endangered and require permits for
                                                    Section 23.13
      10.    Title 50, Code of Federal Regulations,
                                  wful for any person subject to
generally provides that it is unla
                                      to attempt to import or
the jurisdiction of the United States
                                    any specimen of a species
engage in international trade with,
                                    III. All wildlife listed in
listed in CITES Appendix I, II, and
                                     rted into the United States
 Appendix I may only be legally impo
                                         it issued by the United
 when accompanied by a CITES import perm
                                     re-export certificate issued
 States and a CITES export permit or
                                        is exported. All CITES
 by the country from which the wildlife
                                       rted into the United States
 Appendix II wildlife may only be impo
                                      or re-export certificate
 when accompanied by an export permit
                                          is being exported.           50
 from the country from which the wildlife

 C.F.R. ~~ 23.20(e), 23.35, 23.36.
                                                       ed in CITES
       11.   King cobras (Ophiophagus hannah) are list

 Appendix II.
                                      D

                                          [Non-Instrumentality Protocol]
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                                              tions 1538(c),
      12.    Title 16, United States Code, Sec
                                 ons for any person who knowingly
1540(b), provide criminal sancti
                                   ens contrary to the provisions
engages in any trade in any specim

of CITES.
                                            tion 545 makes it
      13. Title 18, United States Code, Sec
                                   ntly or knowingly import or
unlawful for a person to "fraudule
                                   merchandise contrary to law,
bring into the United States, any
                                or in any manner facilitate the
or receive, conceal, buy, sell,
                                sale of such merchandise after
transportation, concealment, or
                                  have been imported or brought
importation, knowing the same to
                                to law."
into the United States contrary
                                              et seq., is a federal
      14.    The Lacey Act, 16 U.S.C. ~ 3371,
                                   es it is unlawful for any
 law that, among other things, mak
                                  se record, account, or label
 person to make or submit any fal
                                  of, any fish, wildlife, or
 for, or any false identification
                                   ed to be either imported or
 plant which has been or is intend
                                  eign commerce.        16 U.S.C.
 transported in interstate or for

 ~ ~ 3372(d), 3373(d).
                                           that all importers of
       15. Federal law generally provides
                                    a completed Declaration for
 wildlife must file with the USFWS
                                   h or Wildlife (Form 3-177),
 Importation or Exportation of Fis
                                or the importer's agent, upon the
 that is signed by the importer
                                     place where USFWS clearance
 importation of any wildlife at the

 is requested.      See 50 CFR §~ 14.61 and 14.52.




                                      5

                                          [Non-Instrumentality Protocol]
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                 VI.      STATEMENT OF PROBABLE CAUSE


                                             by USFWS Wildlife
      16.   On March 2, 2017, I was informed

                                    USFWS WI Leticia Hale had
Inspector ("WI"} Cory Kawabata that
                                 es Customs and Border Protection
received a call from United Stat
                               Susan Terlan. I learned from WI
("CBP") Agriculture Specialist
                                     d a package containing
Kawabata that a CBP officer had foun
                                   United States Postal Service
turtles and possibly snakes at the
                                 lity ("IMF") on Denker Street,
("USPS") International Mail Faci
                                                         , FWS WI
in Torrance, CA.       At that time, I asked WI Kawabata

                                   to go with me to the mail
Frank Chu, and USFWS SA Laura Chee

facility to inspect the package.
                                                 r arriving at the
      17.  On that same day, March 2, 2017, afte
                                       st Terlan who pointed to a
 IMF, I met with Agricultural Speciali
                                      ared to have been opened
 box on an inspection table that appe
                                                              ofoam
 (the "SUBJECT PARCEL").      Inside the box was another Styr

                                  s.      Inside the Styrofoam box, I
 box with holes poked in the side
                                      l packages of commercially
 saw what appeared to be several smal
                                     the contents, CBP
 packaged food items. As I examined
                                        brought a white container
 Agriculture Specialist Jaime Pimentel
                                     l round cardboard canisters
 with what appeared to be three smal
                                      rs (but about half the size)
 similar to "Pringles" chips containe
                                       I examined the clear
 and one small clear plastic bottle.
                                    gnized as an albino Chinese
 plastic bottle and saw what I reco
                                   from my experience is noted
 soft-shelled turtle, which I know
                                                            that they
 CITES-protected.      Agriculture Specialist Pimentel said

                                  chip containers.
 thought there were snakes in the




                                         [Non-Instrumentality Protocol]
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                                         Specialist Pimentel told
      18. On that same day, Agriculture
                                                            told
                             l who found the wildlife. He
me that he was the individua
                                                         Kong and
                           ough a bin of mail from Hong
me that he was looking thr
                                                         d the
                          s package because he recognize
specifically selected thi
                                                        ress for
                           Kong as a known shipping add
shipper's address in Hong
                                                          did not
                           list Pimentel told me that he
drugs. Agriculture Specia
                                                          gs. He
                           tead opened it looking for dru
x-ray the package, but ins
                                                          clear
                           the package, he looked at the
said that after he opened
                                                       d he then
                            holes in the side. He sai
plastic bottle and saw the
                             ide and stopped and called the
noticed something moving ins

 usFws.
                                           SUBJECT PARCEL, I
       19. As I examined the label on the
                                                        Steer
                             ress of "No. 122 Hong Kong
 recognized the shipping add
                                                         September
                               nijaan, Hong Kong." From
 Kowloon Bay, Kowloon Bay, Hor
                                                           of
                           2016, I seized three packages
 2015 through September of
                                                          . 122
                            ating from the address of "No
 undeclared wildlife origin
                                                           g Kong."
                             , Kowloon Bay, Hornijaan, Hon
 Hong Kong Steer Kowloon Bay
                                  on of contents of the SUBJECT
      20. The declared descripti
                               ple." I recognized that the
 PARCEL was "Porcelain cup sam
                                                              had
                               same declaration the shipper
 contents declaration was the
                               packages.
 used on the previously seized
                                        and the Contents, I also
       21.   In addition to the address
                               be the same as the previous
 recognized the handwriting to
                                                           ed
                            addressed to an individual nam
 packages. The package was
                                                         ey Park,
                           Ridge Crest St, Apt G, Monter
 "Carlos Sandoval" at 1551
                                                               a
                            . Also listed on the package was
 CA 91754 (SUBJECT PREMISES)


                                       7

                                           [Non-Instrumentality Protocol]
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                                                          EA
                             14, and a tracking number of
phone number of 1-626-922-36

259339179HK.
                                           of the previous
      22. While investigating the origin
                                                             n Bay,
                             Kong Steer Kowloon Bay, Kowloo
packages from "No. 122 Hong
                                                               eign
                                and 2016, I identified the for
Hornijaan, Hong Kong" in 2015
                              hen"). Based on that
supplier as Hou Xiao Chen ("C
                                                           Wen
                            that Chen uses the name "Chen
investigation, I also know
                                                           through
                             er of 2016, I contacted Chen
Bin" on Facebook. In Novemb
                               any Chinese albino soft-shelled
Facebook and asked if he had
                                                            l them
                               e, Chen told me he would sel
turtles for sale. At the tim
                                                            t I did
                               pping. When I told Chen tha
to me for $200 each, plus shi
                                                                o a
                               offered to consolidate them int
not want to pay shipping, he
                            in California. During that
shipment to another person
                            for a list of animals that he was
 conversation, I asked Chen
                                                               t
                              e, Chen sent me a link to a lis
 willing to sell. At the tim
                                   of snakes, frogs, salamanders,
 containing the scientific names
                                            n Internet search of
 and turtles.  I remember conducting an ope
                                                            were
                             nd that several of the species
 the names of snakes and fou
                               a purchase from Chen.
 venomous. I never completed
                                          concern over the
       23.   On March 2, 2017, because of
                                                             sions
                             mal based on my previous discus
 potential of a venomous ani
                                  fe Inspectors and the CBP
 with Chen, I directed the Wildli
                             not open the small potato chip
 Agricultural Specialists to
                                                              safe
                                them to a more controlled and
 canisters until we could take
                              I was interviewing Agricultural
 environment. However, while
                                                                of
                               d above), WI Kawabata opened one
 Specialist Pimentel (describe
                                re was a snake inside (at the
 the canisters and verified the
                                  8

                                          [Non-Instrumentality Protocol]
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                                 did not attempt to strike at WI
time, the snake was passive and
                                                              x-
                                the canisters through the CBP
Kawabata). Thereafter, we put
                                x-rayed canisters appeared to
ray machine. The image of the
                              three canisters.
depict a snake in each of the
                                      tographs of the package,
     24. On March 2, 2017, I took pho
                                                            the
                            g the wildlife, and returned to
seized the package containin
                               WI Chu and USFWS WI Jeremiah
office. Later that afternoon,
                                 ove the snakes from the
McDaniel were able to safely rem
                                                             WI
                            o separate glass tanks. Later,
canisters and place them int
                              ntified the snakes as King Cobras
Chu and WI Joseph Ventura ide
                                                       n told me
(Ophiophagus hannah)   Additionally, USFWS SA Erin Dea
                                                              e
                             cobras to Ian Reccio, the Reptil
that she sent photos of the
                                ("LA Zoo"), who called her and
Curator at the Los Angeles Zoo
                             g Cobras. Each of the King Cobras
confirmed that they were Kin
                                                                h
                               g. I have attached a photograp
was approximately two feet lon
                                                                t
                               container it came in) in Exhibi
of one of the cobras (and the

 A.
                                           she spoke with Curator
       25. SA Erin Dean also told me that
                                                                d
                               handling of the cobras. She tol
 Reccio about guidance on the
                                                               m at
                              if he would be able to house the
 me that, when she asked him
                                                                y
                                d that he could not because the
 the LA Zoo, Curator Reccio sai
                                site and the closest location of
 do not have any anti-venom on
                               Zoo, which was too far away to
 anti-venom was the San Diego
                                                              e had
                              cio told SA Dean that if someon
 treat any bite. Curator Rec
                                                               d as
                               ras, they likely would have die
 been bitten by one of the cob
                                 anti-venom that he knew about in
 there is not a ready source of

 Los Angeles.
                                      D
                                          [Non-Instrumentality Protocol]
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                                            g the SUBJECT PARCEL, I
      26.    On March 2, 2017, of ter seizin
                                                           me
                              W SA Juan Ramirez, informing
received a phone call from USF
                                                         Postal
                            n found at the United States
that another package had bee
                            e Center near Los Angeles
Service International Servic
                                g live turtles that was going to
International Airport containin
                                 ponded to the facility with SA
be exported to Hong Kong. I res
                                            WI Jan Yanabu showed me
Laura Chee.     After arriving on site, FWS

                                  ned multiple species of turtles
a box they had opened that contai
                               packing -,tape. I examined the
that were wrapped in socks and
                                 sed from "Carlos Sandoval" - the
label and saw that it was addres
                                                          of 3718
                             CEL above -- with an address
same name as the SUBJECT PAR
                             California 90063.  It was addressed
Hammel Street, Los .Angeles,
                                                               they
 to "MTWT" in Hong Kong.     There were six turtles total, and

                                 WI Joseph Ventura as Desert Box
 were preliminary identified by
                               eola), Three-Toed Box Turtles
 Turtles (Terrapene ornata lut
                                                                  e
                                 and Ornate Box Turtles (Terrapen
 (Terrapene Carolina triunguis)
                                                 tected as CITES
 ornata ornata)     All of these species are pro

 Appendix II.
                                              that she conducted a
       27. On March 2, 2017, SA Chee told me
                                 Intelligence ("TLO") database
 searched in the TLO Trans-Union
                                    ed to live at the SUBJECT
 and learned that six people appear
                                                            rigo
                           e the names Jose. Franco and Rod
 PREMISES, among which wer
                                              s related to ownership
 Franco.     The TLO database contains record
                               sonal identity, employment,
 and occupancy of property, per
                                 such records that are available
 vehicle registration, and other

 with a subscription.


                                      10

                                           [Non-Instrumentality Protocol]
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                                                              e of
                                   I learned the names of som
     28.  On March 2, 2017, after
                                                   the Facebook
                         JECT PREMISES, I searched
the residents at the SUB
                                                       " listed as
                            found the name "Rod Franco
page belonging to Chen and
                                                       e for Rod
                           I searched the Facebook pag
one of his friends. When
                                                      fied groups,
                           a member of several classi
Franco, I saw that he was
                                                    classify",
                          amphibians discussion and
such as "Asian reptile &
                                                    "WWPS Online
                          and exotics rescue," and
"Creepy Crawlies Reptile
                                                that he lived in
                       's Facebook page showed
Reptile Store." Franco
                                                   JECT PREMISES
                         a, which is where the SUB
Monterey Park, Californi

is located.
                                     ted a search in the USFWS
      29. On March 2, 2017, I conduc
                                                      S") for the
                          t Information System ("LEMI
Law Enforcement Managemen
                                                     d by the
                          IS is a database maintaine
name Rodrigo Franco. LEM
                                                            and
                               s involving the importation
 USFWS that contains record
                                                           ations, as
                              including permits and declar
 exportation of wildlife,
                                                                  rch,
         rec ord s of wil dli fe  inv estigations. During the sea
 well as
                                                              Franco,
   discov ere d an ope n inv est igation for the name Rodrigo
 I
                                                                with
                                 d having previously discussed
 which I also then remembere
                                                             LEMIS
                             estigation, SA Ramirez.
 the case agent for that inv
                                                          in
                             e was intercepted at the IMF
 identified that that packag
                                                           non
                            ned two live turtles (Platyser
 January of 2017 and contai
                                                             ),
                             turtle (Carettochelys insculpta
 megacephalum) and one dead
                                                              LEMIS
                          CITES Appendix II species.
 which are both listed as
                                                             doval"
                              e was addressed to "Carlos San
 identified tha~'~that packag
                                                              70,
                             Louisa Ave, West Covina, CA 919
 at an address of 1027 West
                                                              . 122
                                kage was shipped from was "No
 and the address that that pac
                                                              Kong,
                              , Kowloon Bay, Hornijaan, Hong
 Hong Kong Steer Kowloon Bay
                                      it
                                                                       ol]
                                           [Non-Instrumentality Protoc
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                                 sender of the SUBJECT PARCEL
which is the same address as the
                                          SA Ramirez, I remember
above.   From my previous discussion with

                                  contain "porcelain cup
that that package was declared to
                                  above.
samples," like the SUBJECT PARCEL
                                               rez, and I asked him
      30.   On March 2, 2017, I called SA Rami

about his investigation.      He told me that a recipient phone

                                   age he intercepted and that,
number had been listed on the pack
                                   TLO database, he learned that
when he searched the number in the
                                              SA Ramirez said that,
it was registered to a Rodrigo Franco.
                                    the owner of the residence
later, he found a Facebook page for
                                        she was friends with a
of the West Covina address and saw that

Rod Franco.
                                                 ch in the LEMIS
      31.   On March 2, 2017, I conducted a sear

                                      unable to locate any
database for Rodrigo Franco and I was
                                   its under that name.          I also
import declarations, or CITES perm
                                         Carlos Sandoval, Hou
conducted the same search for the names
                                     d not locate any import
Xiao Chen, and Chen Wen Bin and coul

declarations or CITES import permits.
                                                     information
      32.   Based on my training and experience (and
                                     USFWS special agents with
 provided to me by other experienced
                                            als who traffic in
 whom I work), I have learned that individu
                                        , also traffic in other
 CITES-protected wildlife, such as here

 types of CITES-protected wildlife.       Thus, there is probable

                                           otected animals will be
 cause to believe that additional CITES-pr
                                         arly given the
 found at the SUBJECT PREMISES, particul

                                    ary and the outbound package
 previously-seized shipment in Janu
                                       on March 2, 2017, both of
 in the name of Carlos Sandoval seized
                                     12

                                          [Non-Instrumentality Protocol]
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                                 ES-protected wildlife (turtles)
which had different types of CIT

than the SUBJECT PARCEL.
                                          ence (and information
      33. Based on my training and experi
                               enced USFWS special agents with
provided to me by other experi
                                 t individuals who illegally
whom I work), I have learned tha
                              fe to their residences are likely
import CITES-protected wildli
                                /or correspondence related to
to keep equipment, records, and
                              residence.
illegal importations at their
                                              t was intercepted on
      34.    The package (SUBJECT PARCEL) tha
                                d from an overseas shipper in
March 2, 2017, was being shippe
                                  and experience (and information
Hong Kong. Based on my training
                                  ed USFWS special agents with
provided to me by other experienc
                                 t international trafficking of
whom I work), I have learned tha
                                using e-mail and/or text messages
wildlife are often facilitated
                             cause to believe that digital
and, thus, there is probable
                               ul wildlife trafficking in this
evidence related to the unlawf
                               JECT PREMISES.
 case will be found at the SUB
                                             d with the cobras,
       35.   Because of the danger associate
                                 attempting to get the cobras
 including to USFWS employees in
                                   ger to the public if the cobras
 back into the package and the dan
                               not intend to actually deliver the
 are delivered, the USFWS does
                                   l be returned to the box).
 Cobras (the turtles, however, wil




                                     13

                                          [Non-Instrumentality Protocol]
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                                                          SEARCH
                                ACTIVATE THE ANTICIPATORY
VII.    CIRCUMSTANCES THAT WILL
                                         PREMISES
                 WARRANT FOR THE SUBJECT

                                                               T
                                      rant to search the SUBJEC
       36.The anticipatory search war
                                                    following
                          will be triggered by the
PREMISES described herein

circumstances:
                                                 scribed by the
              a.   Within the allowable time pre
                                                             in
                              g with law enforcement, acting
warrant, an individual workin
                                                      r the
                          a USPS carrier, will delive
an undercover capacity as
                      SUBJECT PREMISES.
SUBJECT PARCEL to the
                                              SUBJECT PARCEL
              b.   It is anticipated that the
                                                    ividual who is
                        will be accepted by an ind
containing the wildlife
                                                   ide the SUBJECT
                          ES and will be taken ins
present at SUBJECT PREMIS
                                                      ervation
                           CEL will be kept under obs
PREMISES. The SUBJECT PAR
                                                           en into
                             until the time that it is tak
 using physical surveillance
                                                             and
                                T PARCEL has been delivered
 the residence. Once the SUBJEC
                                                    wait between
                          PREMISES, USFWS SAs will
 taken inside the SUBJECT
                                                           Thus,
                              ering the SUBJECT PREMISES.
 one to 30 minutes before ent
                                                         rch
                             ivate this anticipatory sea
 the triggering event to act
                                ion, will be delivery and
 warrant, and permit its execut
                                                      MISES.
                          T PARCE; at the SUBJECT PRE
 acceptance of the SUBJEC


                                              DIGITAL DEVICES
         VIII.     TRAINING AND EXPERIENCE ON


                                        gital device" includes any
        37.As used herein, the term "di
                                                             g
                              capable of storing or processin
 electronic system or device
                              ing central processing units;
 data in digital form, includ
                             and tablet computers; personal
 desktop, laptop, notebook,
                               communication devices, such as
 digital assistants; wireless
                                      14
                                                                       ol]
                                           [Non-Instrumentality Protoc
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                                                         ones, and smart
                            s, beepers, mobile teleph
telephone paging device
                                                             g Sony
                               gaming consoles (includin
phones; digital cameras;
                                                        input/output
                            oft Xboxes); peripheral
PlayStations and Micros
                                                          plotters,
                            rds, printers, scanners,
devices, such as keyboa
                                                              related ..
                             ended for removable media;
monitors, and drives int
                                                            cables, and
                              such as modems, routers,
communications devices,
                                                            ves, floppy
                              ia, such as hard disk dri
connections; storage med
                                                            tapes used to
                              ical disks, and magnetic
 disks, memory cards, opt
                                                        h as VHS); and
                           cluding analog tapes suc
 store digital data (ex
                                                           ng, and
                                on my knowledge, traini
 security devices. Based
                                                            by agents and
                             information related to me
 experience, as well as
                                                                      ices,
            olv ed  in  the  for  ens ic  examination of digital dev
 others inv
                                                                   iety of
            t dat  a  in dig ita  l for  m can be stored on a var
 I know tha
                                                                     it is
             ice  s  and tha t  dur ing   the search of a premises
 digital dev
                                                                    l data
             .po ssi ble to  sea  rch  digital devices for digita
  not always
                                 including the following:
  for a number of reasons,

                                             can be a highly
             a.    Searching digital devices
                                                   ise and
                          requires specific expert
 technical process that
                                                    of digital
                           There are so many types
 specialized equipment.
                                                             ossible
             sof twa re progra ms in use today that it is imp
 devices and
                                                      technical
                            site all of the necessary
 to bring to the search
                                                        duct a
     uals and spe cia liz ed equipment necessary to con
 man
                                                         to consult
                             ition, it may be necessary
 thorough search. In add
                                                   ic expertise in
                         personnel who have specif
  with specially trained


                                       15
                                                                        ol]
                                            [Non-Instrumentality Protoc
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                                                    software
                           s, operating systems, or
the types of digital device
                            searched.
applications that are being
                                              vulnerable to
           b.    Digital data is particularly

                           modification or destruction.
inadvertent or intentional
                                                     cise,
                          can require the use of pre
Searching digital devices
                                                      the
                          t are designed to maintain
scientific procedures tha
                                                     erased,
                         a and to recover "hidden,"
integrity of digital dat
                                                      As a result,
                           password-protected data.
compressed, encrypted, or
                                                     laboratory
                          such as a law enforcement
a controlled environment,
                                                       plete and
                            ential to conducting a com
or similar facility, is ess

                           stored on digital devices. .
 accurate analysis of data
                                             many digital devices
           c.   The volume of data stored on
                                                          tical to
                            that it will be highly imprac
 will typically be so large
                                                          es. A
                            physical search of the premis
 search for data during the
                                                        500
                             space is the equivalent of
 single megabyte of storage
                                                        rage
                            t. A single gigabyte of sto
 double-spaced pages of tex
                                                         0 double-
                             is the equivalent of 500,00
 space, or 1,000 megabytes,.
                                                       storing 500 or
 spaced pages of text`      Storage devices capable of

                               place.       Consequently, just one
 more gigabytes are now common
                                                           of
                              ivalent of 250 million pages
 device might contain the equ
                                                           35' x
                             , would completely fill three
 data, which, if printed out
                                                           drive
                               g. Further, a 500 gigabyte
 35' x 10' rooms to the ceilin
                                                             or
                              roximately 450 full run movies
 could contain as many as app

 450,000 songs.
                                      16
                                                                       ol]
                                           [Non-Instrumentality Protoc
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                                            ts of such files can be
           d.    Electronic files or remnan
                                                been downloaded
                        n years after they have
recovered months or eve
                                                   ernet.
                          d, or viewed via the Int
onto a hard drive, delete
                                                   red for years
                        to a hard drive can be sto
Electronic files saved
                                                      e been deleted,
                             Even when such files hav
with little or no cost.
                                                  ng readily-
                        months or years later usi
they can be recovered
                                                        deletes a
      ble for ens ics too ls.  Normally, when a person
availa
                                                     e does not
  le on a com put er, the  data contained in the fil
fi
                                                 on the hard drive
                          her, that data remains
actually disappear; rat

                        by new data.        Therefore, deleted files,
until it is overwritten
                                                              or slack
           ts  of del ete d  fil es, may reside in free space
 or remnan
                                                         ocated to an
     ce, i.e ., spa ce on   a hard drive that is not all
 spa
                                                      been allocated to
                             unused after a file has
 active file or that is
                                                of time before
                        space, for long periods
 a set block of storage
                                                 s operating
                        In addition, a computer'
 they are overwritten.
                                                  a swap or
                        record of deleted data in
 system may also keep a
                                                    wed on the
                          , files that have been vie
 recovery file. Similarly
                                                  o a temporary
                        omatically downloaded int
 Internet are often aut
                                                        a fixed
                           browser typically maintains
 directory or cache. The
                                                             the files
            har d dri ve space  dev oted to these files, and
 amount of
                                                        e recently
     only  ove rwr itten as  they are replaced with mor
 are
                                                       to retrieve
                             tent. Thus, the ability
 downloaded or viewed con
                                                      ends less on
                          c file from a hard drive dep
  residue of an electroni
                                                    particular
                           aded or viewed than on a
  when the file was downlo
                                      17
                                                                       ol]
                                           [Non-Instrumentality Protoc
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                                                             its.
                             rage capacity, and computer hab
user's operating system, sto
                                 c files from a hard drive
Recovery of residue of electroni

                               a controlled laboratory
requires specialized tools and
                                                  ntial time.
environment.     Recovery also can require substa

                                               called for by this
            e.    Although some of the records

                                  m of user-generated documents
warrant might be found in the for

                             ture, and movie files), digital
(such as word processing, pic
                                                             l.
                                of electronic evidence as wel
devices can contain other forms
                                                             ,'
                              a digital device has been used
In particular, records of how

                                has used it, and who has been
 what it has been used for, who

                                ntaining records,. documents.,
 responsible for creating or mai
                                   als contained on the digital
 programs, applications and materi
                                                               for
                               ther in the attachments, called
 devices are, as described fur
                                                       found in
 by this warrant.     Those records will not always be
                                                                ge
                                 regable from the hard drive ima
 digital data that is neatly seg
                                                not currently
 as a whole.     Digital data on the hard drive
                                                              was
                              provide evidence of a file that
 associated with any file can
                                                              or
                                since been deleted or edited,
 once on the hard drive but has

                              e (such as a paragraph that has
 of a deleted portion of a fil

                                 sing file).        Virtual memory
 been deleted from a word proces

                              ital data on the hard drive that
 paging systems can leave dig

                               on the computer were recently
 show what tasks and processes
                                         and chat programs often
 used.,   Web browsers, e-mail programs,

                             the hard drive that can reveal
 store configuration data on


                                          [Non-Instrumentality Protocol]
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                                                             Operating
                           nicknames and passwords.
information such as online
                                                    attachment of
   ste ms can rec ord add itional data, such as the
sy
                                                     devices, and
                           ment of USB flash storage
peripherals, the attach

                       was in.use.         Computer file systems can
the times the computer
                                                          sequence
      d dat a abo ut the dates files were created and the
recor
                                                            of a
                          d.      This data can be evidence
in which they were create
                                                 digital device,
                        ntity of the user of the
crime, indicate the ide
                                                    locations.
                           nce of evidence in other
or point toward the existe
                                                   and a
                           uires specialized tools
 Recovery of this data req
                                                      uire
                           ironment, and also can req
 controlled laboratory env

 substantial time.
                                           a digital device has
            f.    Further, evidence of how
                                                     used it, may
                        been used for, and who has
 been used, what it has
                                                     ice. For
                          ular data on a digital dev
 be the absence of partic
                                                    ital device was
                         im that the owner of a dig
 example, to rebut a cla
                                                   device was
                           ticular use because the
 not responsible for a par
                                                      may be                 _
                            by malicious software, it
 being controlled remotely
                                                        ows someone
                               icious software that all
 necessary to show that mal
                                                         present on
     e to con tro l the dig ita l device remotely is not
 els
                                                         ticular data
                             dence of the absence of par
 the digital device. Evi                            i
                                                            l device.
                                 segregable from the digita
 on a digital device is not
                                                   onstrate the
                         l device as a whole to dem
  Analysis of the digita
                                                         and a
                            a requires specialized tools
  absence of particular dat



                                      19
                                                                       ol]
                                           [Non-Instrumentality Protoc
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                                                                stantial
                                     nment, and can require sub
        controlled laboratory enviro

        time.
                                                        empt to conceal data
                      g.   Digital device users can att
                                                             including
                                   ough a number of methods,
        within digital devices thr
                                                             ensions.
                                misleading filenames and ext
        the use of innocuous or
                                                                are image
                                    the extension ".jpg" often
        For example, files with
                                                                     to ".txt"
                                        easily change the extension
        files; however, a user can
                                                                  e contains
           con cea l the ima ge and . make it appear that the fil
        to
                                                                    l data by
                                         can also attempt to concea
        text. Digital device users
                                                              ice, such as
                                 means that a password or dev
         using encryption, which
                                                               data into
                                  is necessary to decrypt the
_        a "dongle" or "keycard,"
                                                        users can conceal
         readable form.     In addition, digital device
                                                             ous file in a
                                 mingly unrelated and innocu
         data within another see

                                  raphy."      For example, by using
         process called "steganog
    0                                                             t in an image
                                      device user can conceal tex
         steganography a digital
                                                                    ned.
                                         when the image file is ope
         file that cannot be viewed
                                                                   destroy or
             ita l dev ice s may als o contain "booby traps" that
         Dig
                                                                     followed.
                                       cedures are not scrupulously
         alter data if certain pro
                                                                    sort
                                     e is necessary to extract and
         A substantial amount of tim
                                                               t to booby
                                  cealed, encrypted, or subjec
         through data that is con
                                                                d or
                                    r it is evidence, contraban
         traps, to determine whethe

                                   me.
         instrumentalities of a cri

                                                al agents and no local
                38. The USFWS has only five loc
                                                              ce Office
                                  March 2, 2017, USFWS Torran
          forensic examiners. On
                                          20
                                                                              ol]
                                                  [Non-Instrumentality Protoc
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                                 n Dean told me that she had
Resident Agent in Charge Eri
                                                               unable
                                 forensic examiners, but was
attempted to contact nearby
                                                               ion of
                                 to participate in the execut
to find a forensic examiner
                                                            warrant on
                                7. We need to execute the
the warrant on March 3, 201
                                    JECT PARCEL is supposed to be
March 3, 2017, because the SUB
                                                              ferent
                                   I know, including from dif
delivered on March 3, 2017.
                              and executed with similar
search warrants obtained
                                                           forensic
                               e a difficult time getting
circumstances, that we hav
                                                                  on
                                  l agencies on search warrants
assistance from other federa
                                                                during
                                end to seize digital devices
 short notice. I, thus, int
                                                                 Digital
    e exe cut ion of the sea rch  warrant and send them to our
 th
                                                                d in
                                  cal Surveillance Unit locate
 Evidence Recovery and Techni
                                                           urn the
                            imaging, and will promptly ret
 Jacksonville, Florida, for
                              .
 digital devices to residence
                                        cribed herein, to my
       39. Other than shat has been des
                                                           this
                              has not attempted to obtain
 knowledge, the United States

 data by other means.




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                                           [Non-Instrumentality Protocol]
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                                                             IX.   CONCLUSION


                                               above, I respectfully
      40.        For all the reasons described
                                                         dence,
                            le cause to believe that evi
submit that there is probab
                                                          .C.
                               es of violations of 16 U.S
fruits, and/or instrumentaliti
                                                          y
                            .R. ~~ 23.13, 23.20 (illegall
§~ 1538(c), 1540(b), 50 C.F
                                                            ),
                             animals); 16 U.S.C. ~§ 3372(d
importing legally-protected
                             a false record or label for
3373(d)(3)(A)(i) (submitting
                            orted) ; and l8 U.S.C. § 545
wildlife intended to be imp
                                                       at the
                          United States) will be found
(smuggling goods into the

 SUBJECT PREMISES.


                                                                                     S~
                                                                          STEPHANIE JOHNSON, Special
                                                                          Agent, USFWS

                             ore me
 Subscribed to and sworn bef
                        201 7.
 this 3rd day of March,

       xe~
      ,:                        /~y


             f   t"'svaa'          3
                            ~j'~ it'   .J.   .. .   _~,4-~



 HONOR 3~,E SUZANNE H~ SEGAL
                           JUDGE
 UNITED STATES MAGISTRATE




                                                                     22

                                                                          [Non-Instrumentality Protocol]
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                                   •        •
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                                                                                         ':~    l




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                                                                  ,..e;•'
                                                                      . ,,..
                                                                               :'


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            ' .; ~~          - t
            r
          ~,~~~~                      ,
           y
           .x        k              ,

 (~ ~     1 ~        t                                        i
                 Y       i

   ~ ~    ~?8 " f̀~
                 i  K 4 ~~ ~
 z. ~
    ihpy ~ ,~r~Y        -C
    ~~           t    i v ..~ tr -                        _
,~
   ~_ ~ e1               _
f~c~  a
    {F4
         F~4 t           s
                         '       ~~
                             _                         r ~~       ~A
                                                                                -   ~`
                                                                               ~Q




                                                  `S


                                              `,l




                                          -.-~';.3
                                           .~~5


                                           sN
                                           :~
                                           S~



                                          '~
                                           r
                                           .9
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                         Exhibit 2
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                                 EXHIBIT 2

        Pphotograph of the cans the cobras were imported in




         Photograph of the cans the cobras were imported in
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                                                        g one of
  Photograph of Wildlife Inspector Cory Kawabata openin

                    the cans (revealing the snake)




                                                  opening one of
   Photograph of Wildlife Inspector Cory Kawabata

                     the cans (revealing the snake)
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                                                         office
  Photograph of one of the cobras in a tank at our USFWS
